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                     UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF MISSISSIPPI
                           JACKSON DIVISION


BARRY W. GILMER                                                     PLAINTIFF


VS.                                  CIVIL ACTION NO. 3:08cv136TSL-JCS


TOBY TROWBRIDGE, JR., INDIVIDUALLY,
AND IN HIS OFFICIAL CAPACITY AS
SHERIFF OF MADISON COUNTY, MISSISSIPPI;
SCOTT GRAVES, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY AS DEPUTY SHERIFF OF
MADISON COUNTY, MISSISSIPPI; MADISON
COUNTY, MISSISSIPPI; WESTERN SURETY
COMPANY; AND JOHN DOES 1 THROUGH 10                                DEFENDANTS



                     MEMORANDUM OPINION AND ORDER

      This cause is before the court for consideration of three

motions: (1) plaintiff Barry Gilmer’s motion to dismiss defendant

Western Surety Company; (2) defendant Scott Graves’ motion for

summary judgment on immunity grounds as to plaintiff’s individual

capacity claims against him; and (3) defendant Toby Trowbridge’s

motion to dismiss or, in the alternative, for summary judgment in

his individual capacity.      These motions have been fully briefed,

and the court, having considered the memoranda of authorities,

together with attachments, submitted by the parties, concludes

that plaintiff’s motion to dismiss should be denied, Graves’

motion for summary judgment should be granted in part and denied

in part, and Trowbridge’s motion for summary judgment should be

granted.

      Plaintiff Barry Gilmer filed this action in December 2007 in

the Circuit Court of Madison County, Mississippi against Toby
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Trowbridge, Jr., individually and in his official capacity as

Sheriff of Madison County, Scott Graves, individually and in his

official capacity as a Madison County deputy sheriff, Madison

County, Mississippi, and Western Surety Company, as the surety on

Sheriff Trowbridge’s official bond.        Plaintiff asserts claims

against defendants for alleged trespass and unlawful search, civil

conspiracy, false arrest, false imprisonment, intentional

infliction of emotional distress, assault and battery, abuse of

process, malicious prosecution, and excessive force, all stemming

from incidents occurring on April 14 and 15, 2006 at Gilmer’s

property in Madison County, which culminated in Gilmer’s being

twice arrested by Deputy Graves on charges of disorderly conduct,

disobeying orders of a law enforcement officer, resisting arrest

and contributing to the delinquency of a minor.             The case was

removed to this court on the basis that certain of plaintiff’s

claims arose under federal law, 42 U.S.C. § 1983, and specifically

out of alleged violations of the Fourth and Fourteenth Amendments

to the United States Constitution.

     Gilmer’s Motion to Dismiss Western Surety Company

     Mississippi Code Annotated § 19-25-5 requires a sheriff to

“give bond, with sufficient surety, to be payable, conditioned and

approved as provided by law and in the same manner as other county

officials, in a penalty equal to One Hundred Thousand Dollars

($100,000.00), the premium for which shall be paid by the county.”

Plaintiff maintains that for the period commencing January 1, 2000


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and continuing through January 1, 2008, Toby Trowbridge never

executed and filed a proper “Official Bond and Oath.”             More

specifically, he contends that the bond, issued by Western Surety,

for Trowbridge’s first term in office, covering the period January

2000 to January 2004, was improper and ineffective since it was in

the amount of $50,000 rather than the $100,000 required by the

statute.   Further, he contends, Trowbridge failed altogether to

execute the “Official Bond and Oath” issued by Western Surety

Company for the 2004-2008 term.      Plaintiff contends that in light

of these facts, the Western Surety bond is a nullity and

unenforceable, which he submits means that Western Surety Company

is improperly named as a defendant in this suit; that all of

Trowbridge’s actions as Sheriff of Madison County are void or

voidable; and that consequently, Deputy Graves did not have “legal

authority to effect the arrest and detention of Barry W. Gilmer on

April 14 and April 15, 2006.”      As such, plaintiff claims that

Western Surety should be dismissed and the court should rule as a

matter of law that Sheriff Trowbridge and Deputy Graves acted

solely in their individual capacities as private citizens on all

relevant occasions.

     In their responses to plaintiff’s motion, defendants have

offered, inter alia, the affidavit of Madison County Chancery

Clerk Arthur Johnston, in which he explains that when it came to

his attention in January 2004 that the bond for the sheriff’s

2004-2008 term of office, then recorded in the official bond book


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maintained by the Office of the Chancery Clerk, did not include

Sheriff Trowbridge’s signature, he so informed Sheriff Trowbridge,

who then executed the bond, which was then recorded in the

official bond book.1    Mr. Johnston states that notwithstanding

that the former Chancery Clerk erroneously recorded the bond

before it was executed by Sheriff Trowbridge, Sheriff Trowbridge

did, in fact, give the bond required of him under Miss. Code Ann.

§ 19-25-15 (1972), as amended, for his 2004-2008 term of office,

and for his 2008-2012 term of office.2

     Defendants have also offered the affidavit of Leann Niebuhr,

the claims consultant for Western Surety Company who is

responsible for the enforceability of the official bond issued to

Madison County, in which she states that Western Surety considers

the official bond it sold to Madison County, Mississippi, in the

sum of $100,000 for and on behalf of Sheriff Trowbridge,

enforceable and binding on Western Surety Company as required




     1
          Mr. Johnson’s affidavit does not address the bond
covering Trowbridge’s 2000-2004 term of office. However, that
bond is irrelevant to these proceedings, which involve occurrences
during Trowbridge’s 2004-2008 term of office. However, as
defendants have contended, even if the 2000-2004 bond were somehow
applicable, under Mississippi Code Annotated § 25-1-15(3),
considered infra, the fact that the official bond does not state
the “proper penalty” does not render it ineffective.


     2
          Plaintiff has moved to strike Johnston’s affidavit “as
lacking personal knowledge and predicated upon false, fabricated
assertions of fact.” Plaintiff’s motion to strike is patently
without merit and is denied.

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under Mississippi law, regardless of whether Sheriff Trowbridge

executed that bond.

       Defendants further point out that under Mississippi law, the

fact that a required bond is not in the proper form does not

affect its enforceability.      In this regard, Mississippi Code

Annotated § 25-1-15(3) states as follows:

       A failure to observe the form herein prescribed shall
       not vitiate any official bond; and all official bonds
       shall be valid and binding in whatever form they may be
       taken, except so far as they may be conditioned for the
       performance of acts in violation of the laws or policy
       of the state. Whether in the proper penalty or without
       any penalty, whether correct or incorrect in its
       recitals as to the term of office or otherwise, whether
       properly payable, whether approved by the proper officer
       or not approved by any, or if irregular in any other
       respect, such bond, if delivered as the official bond of
       the officer or employee and serving as such, shall be
       obligatory on everyone who subscribed it for the purpose
       of making the official bond of such officer or employee
       to the full penalty or, if it has no penalty, to the
       full penalty of the bond which might have been required.

See also Town of Gloster v. Harrell, 77 Miss. 793, 23 So. 520

(Miss. 1898) (holding that where surety executes bond and delivers

it as a public official’s “official bond,” the surety is bound by

the bond regardless of whether or not the public official signs

it).

       Inasmuch as plaintiff’s motion to dismiss Western Surety is

premised on his incorrect assertion that the bond is void, the

motion to dismiss will be denied (and this is notwithstanding that

defendants advise that they have no objection to the dismissal of

the surety).    Moreover, plaintiff’s related argument that

defendants acted as private citizens and hence are not entitled to

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qualified immunity or immunity under the Mississippi Tort Claims

Act due to Sheriff Trowbridge’s alleged failure to sign the

appropriate bond is without merit.

     Section 1983: Qualified Immunity

     Both Sheriff Trowbridge and Deputy Sheriff Graves have moved

for summary judgment as to plaintiff’s § 1983 claims on the

grounds of qualified immunity.        Qualified immunity is provided to

government officials while exercising their discretionary

authority so long as their conduct does not violate clearly

established statutory or constitutional rights of which a

reasonable person would have known.          Evett v. DETNTFF, 330 F.3d

681, 687 (5th Cir. 2003).        Qualified immunity “protects all public

officers from individual liability except those ‘who are plainly

incompetent or who knowingly violate the law.’”               Dean v. Thomas,

933 F. Supp. 600, 607 (S.D. Miss. 1996) (quoting Malley v. Briggs,

475 U.S. 335, 340, 106 S. Ct. 1092, 1096, 89 L. Ed. 2d 271

(1986)).   Courts conduct a bifurcated analysis to determine

whether a government official is entitled to qualified immunity,

as follows:

     First, the plaintiff must allege the violation of a clearly
     established constitutional right. . . . Second, the actions
     of the officer must be objectively reasonable under the
     circumstances, such that a reasonably competent officer would
     not have known his actions violated then-existing clearly
     established law.

Evett, 330 F.3d at 687 (citing Mangieri v. Clifton, 29 F.3d 1012,

1016 (5th Cir. 1994).        If an official’s conduct was objectively

reasonable, it does not matter if that official’s conduct violated

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a constitutional right; he is still entitled to qualified

immunity.   Nerren v. Livingston Police Dept., 86 F.3d 469, 473

(5th Cir. 1996) (citations omitted).        Whether an officer’s actions

were objectively reasonable is a question of law for a court to

decide.   Evett, 330 F.3d at 687.        The critical issue for the court

is “whether a reasonable person would have believed that his

conduct conformed to the constitutional standard in light of the

information available to him and the clearly established law.”

Goodson v. Corpus Christi, 202 F.3d 730, 736 (5th Cir. 2000).

     According to the complaint in this cause, plaintiff Barry

Gilmer lives in Madison County, Mississippi, at 300 Catlett Road.

Pam and Tommy Miller also live in Madison County, on property

adjacent to Gilmer’s property.      On April 14, 2006, Gilmer’s

twenty-year-old son, Matthew Gilmer, and a number of his friends,

were shooting skeet on the Gilmer property, near the fence line

between the Gilmer and Miller properties.          Pam Miller called 911

to complain.   Mrs. Miller told the dispatcher, “I’ve been having a

problem for quite a while with my neighbor, but his son, they’re

over at my fence line, they’re fighting, they’re shooting

firearms, and I’m a little nervous when somebody shoots my house.”

When the dispatcher explained to Mrs. Miller that shooting

firearms in the county is not illegal, Mrs. Miller responded that

her neighbor was Barry Gilmer, that she and her husband had been

in litigation with Gilmer, and that Gilmer and his son had been

harassing her and her family at night.         She complained, “They play



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loud music, they fire firearms.      You know, I think they’re

dangerous, but I’d like someone to come see what I see every day.”

Deputy Scott Graves was dispatched to the Millers’ home to

investigate.

     While en route to the scene, Deputy Graves spoke with Sheriff

Toby Trowbridge by radio:

     Trowbridge: It will be the very last house on the right
     on Kehle Road there. I think Barry Gilmer is giving her
     fits. We’ve [Pam Miller and I] discussed it before.
     Like I say, it’s the last house on the right. It runs
     into his property there in the field that goes back way
     to his house there.

     Graves: 10-4.

     Trowbridge: See what you can do to help her there. You
     know, I don’t know what he’s doing over there, but even
     if it takes going over there and talking to him or
     whatever.

     Graves: 10-4.

Upon arriving at the Millers’ residence to investigate Mrs.

Miller’s complaint, Deputy Graves initially spoke with Tommy

Miller, who stated that Matthew Gilmer and his friends had “been

shooting guns and playing loud and obscene music all afternoon and

were right at the property line.”        The parties’ versions of events

diverge significantly at this point.

     According to Graves’ version, after initially speaking with

the Millers, he tried to talk to Matthew Gilmer to get information

from him so that he could make out a report on Mrs. Miller’s

complaint for disturbing the peace, but Matthew was uncooperative

and refused to provide any information.        Then, when Matthew called



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his father to the scene, Graves drove his patrol car to the Gilmer

property to speak with plaintiff.        Prior to plaintiff’s arrival,

Graves spoke via radio to Sheriff Trowbridge, and explained what

was happening.     The record reflects the following conversation

between these defendants:

     Trowbridge: Well, if he [Matthew Gilmer] doesn’t want
     to give you information, do something with him.

     Graves: 10-4. Got his daddy en route now.               What do you
     want me to do with him?

     Trowbridge: I’m sure he’s [Barry W. Gilmer] going to
     have an attitude with you so watch him.

     Graves: Sounds like disturbing the peace, I mean
     disorderly conduct.

     Trowbridge:    Better get somebody else over there with
     you.

Graves contends that after he drove onto the Gilmer property,

plaintiff approached his patrol car and struck the window of the

vehicle.   According to Graves, at that point, he got out of the

car and told Gilmer not to beat on the window.              He claims that

plaintiff was obviously intoxicated, and that the elder Gilmer was

     very rude and told me to get out of my car and talk with
     him. I told Gilmer I would speak with him in just a
     minute and Gilmer began to curse and become disorderly.
     I told Gilmer to calm down and he refused to calm down.
     . . . I began to place Gilmer into custody and while
     trying to place him in restraints Gilmer pulled his hand
     away from me.

Deputy Graves arrested plaintiff for disorderly conduct, for

disobeying the orders of a law enforcement officer, and for

resisting arrest.    He transported plaintiff to the Madison County

Detention Center, where plaintiff posted bond and was released.

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     Then, in the early morning hours of April 15, 2006, shortly

after plaintiff had returned home after posting bond, Graves,

along with three other deputies, responded to another complaint of

disturbing the peace at the Gilmer property.           Upon arriving at the

property, Graves found and arrested a minor who was consuming

alcohol on the property.      In the meantime, the officers had

determined that there was an outstanding warrant for Matthew

Gilmer from the Oxford Police Department on a failure to appear

charge.   Plaintiff came out of his house to see what was going on,

and according to Graves, as he was speaking with plaintiff about

the underage drinking occurring on the property, the elder Gilmer

became disorderly, using loud, boisterous and profane language.

Graves thus arrested him for disturbing the peace and contributing

to the delinquency of a minor.       This is the version of facts on

which Graves has based his summary judgment motion.

     Deputy Graves

     In his motion for summary judgment, Graves argues that based

on the facts set forth supra, the court must conclude as a matter

of law that he acted in an objectively reasonable manner in

entering onto plaintiff’s property in the first place to

investigate the Millers’ complaint; his decision thereafter to

arrest plaintiff for disorderly conduct was objectively

reasonable, given that plaintiff was intoxicated, loud and

belligerent, and his actions were threatening a breach of the

peace, particularly given the presence of a group of intoxicated



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young adults with guns; and the decision to charge plaintiff with

resisting arrest was also manifestly reasonable, given that

plaintiff jerked or moved his hand away when Graves attempted to

apply handcuffs.    Likewise, Graves argues that, as a matter of

law, his entering onto plaintiff’s property the second time to

investigate a disturbing the peace complaint was objectively

reasonable; his decision to arrest plaintiff for disturbing the

peace was also objectively reasonable, given plaintiff’s

intoxicated state and his use of loud, boisterous and profane

language; and the charge of contributing to the delinquency of a

minor was supported by probable cause, given that a minor was

discovered consuming alcohol on the premises.

     Under Graves’ version of the facts, his actions in arresting

plaintiff may have been objectively reasonable, and he may have

been entitled to qualified immunity.        Plaintiff’s version of the

facts, however, is far different from that offered by Deputy

Graves; and under plaintiff’s version, which is the version this

court must credit when considering the motion for summary

judgment, Deputy Graves’ arrests of plaintiff were not objectively

reasonable.

     Plaintiff claims that prior to Deputy Graves’ entering onto

the Gilmer property, the officer had already determined that

Matthew Gilmer and his friends had done nothing illegal; they were

not firing guns toward the Miller home, as Mrs. Miller had

claimed; they were not fighting, as Mrs. Miller had claimed; and



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while they may have been playing loud music, that was not against

the law and in any event, Matthew had already turned down the

volume of the music.     Plaintiff claims, moreover, that Matthew was

responsive and polite to the deputy.        Thus, plaintiff asserts that

even though there was nothing left for Graves to investigate,

Graves nevertheless entered onto plaintiff’s property for no other

purpose than to harass plaintiff, and with the intent to arrest

plaintiff on contrived charges.       Citing Graves’ conversation with

Sheriff Trowbridge in which Trowbridge had commented that

plaintiff would probably have an “attitude” and Graves would need

to “watch him,” and Graves’ response that it “sounds like

disorderly conduct,” plaintiff posits that Graves had already

decided to charge plaintiff with disorderly conduct before

plaintiff even arrived on the scene.        Consistent with this theory,

plaintiff maintains that when he merely calmly inquired as to the

reason for Graves’ presence, Graves screamed at him and refused to

respond.   And, when he calmly told Graves to either make an

arrest, provide a lawful reason for being on plaintiff’s property,

or get off plaintiff’s property, Graves, without cause or

provocation, grabbed plaintiff by the shoulder, spun him around,

ordered him to put his hands behind his back, and roughly

handcuffed him, telling plaintiff he was under arrest.             Graves

refused to tell plaintiff what he was being charged with, and he

refused plaintiff’s request to get his wallet from his car so he

would be able to post bond.      Graves put him in the patrol car, and



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transported him to the Madison County Detention Center for booking

on a charge of disorderly conduct and disobeying the order of a

law enforcement officer.      Plaintiff was released after a member of

his law firm arrived and posted bail for him.

     Plaintiff states that when he arrived back home around

midnight, he told Matthew to ask his friends to leave; but as he

was preparing for bed, he saw sheriff’s deputies blocking the

driveway so that no one could leave.        He also noticed that

deputies with flashlights were searching his property, including a

camper trailer and mobile home on the property.             When he yelled at

the deputies that they could not search unless they had a search

warrant, one of the deputies told him to come out of the house.

When he got outside, he found Deputy Graves putting handcuffs on

Matthew, because, according to Graves, “Oxford want[ed] him.”               Yet

when plaintiff tried to explain to Graves that there was no

legitimate reason to arrest Matthew and offered to get documents

from his car to show Graves that the Oxford matter had been

resolved, Graves, without provocation or cause, grabbed

plaintiff’s left arm and began handcuffing him.             Plaintiff claims

that when he protested that Graves was making a mistake and that

plaintiff would bond out of jail, Graves responded, “I cost you

$1,000 before and I will cost you another $1,000 now.”

     Plaintiff was again transported to the Madison County

Detention Center, where he was booked on charges of disorderly

conduct, disobeying the orders of a law enforcement officer and



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contributing to the delinquency of a minor.          As in the case of his

first arrest, plaintiff maintains that he did not use any profane

language or direct any abusive language to Deputy Graves or any

other deputy, and that he made no gesture or any other erratic

movement toward the deputy which could reasonably have provoked

any response from him, and that he did not disobey any lawful

order of Deputy Graves.      He further maintains that he did not

furnish any beer or alcohol to any minor, or to anyone else, on

April 14 or April 15, 2006, and that he had never even been in the

presence of the minor who was arrested on his property for

underage drinking.

     On this summary judgment record, the material facts as to the

circumstances preceding plaintiff’s arrests by Deputy Graves, and

hence whether there was, or whether Deputy Graves could reasonably

have concluded there was probable cause for plaintiff’s arrest,

are obviously in dispute.      These disputed facts make summary

judgment inappropriate.      See Coons v. Lain, 277 Fed. Appx. 467,

471, 2008 WL 1983580, 3 (5th Cir. 2008) (affirming denial of

summary judgment on qualified immunity where deputy’s motion was

based on his own account of the facts, which was directly disputed

by the plaintiff, and stating, “If we accept [the plaintiff’s]

version of the facts, as we must when reviewing a grant of summary

judgment, [the deputy’s] detention of [the plaintiff] was not

supported by articulable facts that criminal activity was afoot.

Under this version, [the deputy’s] actions were objectively



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unreasonable and he should not be shielded by qualified

immunity.”).3

     Having said that, in the court’s opinion, Graves is entitled

to qualified immunity with respect to plaintiff’s charge that he

violated plaintiff’s Fourth Amendment right to be free from an

unlawful search merely by entering onto plaintiff’s property.               It

has been held as a general proposition that “a search of one's

home or its curtilage, effected as a result of a trespass, is an


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          Plaintiff has argued that this court must conclude that
probable cause was lacking as a matter of law based on the finding
of the Madison County Justice Court following Gilmer’s trial on
the subject charges that there was no probable cause for Gilmer’s
arrests. The only evidence plaintiff initially offered in support
of his claim that there was a ruling by the justice court on the
issue of probable cause is plaintiff’s own affidavit and that of
another attorney who was present at the trial and who claims that
the judge’s dismissal of the charges implied a finding that
probable cause was lacking. This proof is hearsay which is not
properly before the court. See Warfield v. Byron, 436 F.3d 551,
559 (5th Cir. 2006) (noting that hearsay evidence is inadmissible
for summary judgment purposes under Federal Rule of Civil
Procedure 56). However, on November 7, 2008, after briefing on
both defendants’ motions had ended, plaintiff filed a motion for
authority to supplement his response with an order signed and
entered by the justice court judge on October 28, 2008 purporting
to dismiss the charges brought against plaintiff by Graves on the
basis that there was no probable cause for the charges. Plaintiff
urges the court to allow him to supplement his response with this
order, and to conclude that the justice court’s putative finding
of no probable cause evidenced by this order be given preclusive
effect on the probable cause issue in this case. The court will
deny plaintiff’s request to supplement. This court is certainly
not bound by the justice court’s putative finding regarding
probable cause, particularly given the odd circumstances
surrounding its entry, most notably, the fact that the order was
entered nearly two years after the justice court judge had already
entered orders finding Gilmer “not guilty,” and apparently entered
the orders at the instance and request of Gilmer. The court would
also note that in any event, the question for this court at this
time is not whether there was probable cause, but whether Deputy
Graves could reasonably have thought there was probable cause.

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encroachment on a person's expectancy of privacy and is for that

reason, but not because of the trespass, a violation of the Fourth

Amendment if not based on probable cause or authorized by a search

warrant.”     United States v. Jackson, 585 F.2d 653, 660 (4th Cir.

1978).    However, “courts generally recognize a ‘knock and talk’

exception to the warrant requirement,” which permits them “to

knock on a residence's door or otherwise approach the residence

seeking to speak to the inhabitants just as any private citizen

may.”    Estate of Smith v. Marasco, 318 F.3d 497, 519 (3rd Cir.

2003) (citing Rogers v. Pendleton, 249 F.3d 279, 289-90 (4th Cir.

2001)).     See also U.S. v. Taylor, 458 F.3d 1201, 1204 (11th cir.

2006) (quoting Estate of Smith v. Marasco).           “According to one

scholar, ‘when the police come on to private property to conduct

an investigation or for some other legitimate purpose and restrict

their movements to places visitors could be expected to go ( e.g.,

walkways, driveways, porches), observations made from such vantage

points are not covered by the Fourth Amendment.’”             Marasco, 318

F.3d at 519 (quoting Wayne R. LaFave, 1 Search and Seizure: A

Treatise on the Fourth Amendment § 2.3(f) (3d ed. & Supp. 2003)

(footnotes omitted)).        Furthermore, a number of courts have

recognized a “community caretaker” exception pursuant to which

officers are permitted to make a warrantless entry onto an

individual’s property and even into his house due to excessively

loud music that disturbs neighbors.         See, e.g., United States v.

Rohrig, 98 F.3d 1506, 1522 (6th Cir. 1996) (“In particular, a



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compelling governmental interest supports warrantless entries

where, as here, strict adherence to the warrant requirement would

subject the community to a continuing and noxious disturbance

[loud music in this case] for an extended period of time without

serving any apparent purpose.”); Bies v. State, 251 N.W.2d 461,

468 (Wis. 1977) (finding that the early morning investigation of a

noise complaint is “part of the ‘community caretaker’ function of

the police which, while perhaps lacking in some respects the

urgency of criminal investigation, is nevertheless an important

and essential part of the police role”).          And while plaintiff has

argued that there are no cases in Mississippi that have recognized

these exceptions, neither are there any Mississippi cases or cases

from the Fifth Circuit which foreclose applicability of these

exceptions.    Thus, at the very least, it was not clearly

established at the time of the incidents in question that an

officer needed a warrant to enter onto private property to speak

with the owner or occupant regarding his neighbors’ complaint of

disturbing the peace.        Cf. Antoine v. Rucker, No. 03-3738, 2006 WL

1966649, at *6 (D.N.J. July 12, 2006) (holding that police

officers who, while responding to a noise complaint, made a

warrantless entry into an individual’s apartment shortly after the

loud music had been turned off were still entitled to qualified

immunity because “there was no ‘clearly established’ law at the

time of the entry specifically instructing the Officers to stop in

their tracks while responding to a noise call if, noticing the



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Officers' approach, the occupants of the home abated the

nuisance.”).

     Plaintiff does also allege that, after coming onto his

property on April 15, Graves and other deputies undertook a rather

extensive search of the premises.          However, Graves has testified

that he did not take part in any such alleged search and plaintiff

has offered no proof to the contrary.         Because there is no proof

that Graves was involved in any search of Gilmer’s property, then

as to plaintiff’s charge that Graves violated his right to be free

from unlawful searches, Graves is entitled to qualified immunity,

and this claim will be dismissed.

     Plaintiff’s claim against Graves for excessive force relating

to having applied handcuffs too tightly will also be dismissed.

“To prevail on an excessive force claim, a plaintiff must

establish: ‘(1) injury (2) which resulted directly and only from a

use of force that was clearly excessive, and (3) the excessiveness

of which was clearly unreasonable.’”         Freeman v. Gore, 483 F.3d

404, 416 (5th Cir. 2007) (quoting Tarver v. City of Edna, 410 F.3d

745, 751 (5th Cir. 2005)).      The Fifth Circuit has repeatedly held

that “minor, incidental injuries that occur in connection with the

use of handcuffs to effectuate an arrest do not give rise to a

constitutional claim for excessive force.”           Id. at 417.      See also

Glenn v. City of Tyler, 242 F.3d 307, 314 (5th Cir. 2001) (stating

that “handcuffing too tightly, without more, does not amount to

excessive force”).



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     Sheriff Trowbridge

     Sheriff Trowbridge cannot be held vicariously liable under

§ 1983 for the acts of his subordinates because “Section 1983 does

not create vicarious or respondeat superior liability.”              Evett,

330 F.3d at 689 (citing Monell v. New York City Dep’t of Soc.

Servs., 436 U.S. 658, 691, 98 S. Ct. 2018, 56 L. Ed. 2d 611

(1978)).   A supervisor can only be found individually liable under

§ 1983 on the basis of his own personal participation in the

wrongful conduct, or where there is a causal connection between

the supervisor’s acts and the alleged constitutional violation.

Hinshaw v. Doffer, 785 F.3d 1260, 1263 (5th Cir. 1986).

     Plaintiff’s position is that Sheriff Trowbridge personally

participated in and supervised both Graves’ illegal entry upon the

Gilmer property and his subsequent unlawful arrest of plaintiff

through his radio communications with Deputy Graves.             In fact, the

only evidence plaintiff has offered to demonstrate Sheriff

Trowbridge’s alleged personal involvement in Graves’ entry onto

plaintiff’s property and plaintiff’s subsequent arrest(s) are the

April 14, 2006 radio communications between Graves and Trowbridge

prior to Graves’ encounter with plaintiff.          When Graves was en

route to the Millers’ home, Trowbridge told Graves,

     I think Barry Gilmer is giving [Mrs. Miller] fits.
     We’ve [Mrs. Miller and I] discussed it before. ... See
     what you can do to help her there. You know, I don’t
     know what he’s doing over there, but even if it takes
     going over there and talking to him or whatever.




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Later, after Graves reported that Matthew Gilmer had refused to

provide information so that he could make out his report on Pam

Miller’s complaint for disturbing the peace and had informed the

sheriff that the elder Gilmer was on his way over, Trowbridge told

Graves he could expect plaintiff “to have an attitude with [him]”

and to “watch him.”     When Graves responded, “Sounds like

disturbing the peace, I mean disorderly conduct,” Trowbridge

replied, “Better get somebody else over there with you.”

     Plaintiff submits, first, that by instructing Graves to do

what he could to help Mrs. Miller, “even if it takes going over

there and talking to him” (i.e., to plaintiff), Trowbridge

specifically directed Graves to violate plaintiff’s constitutional

rights, i.e., to go onto plaintiff’s property without probable

cause in violation of plaintiff’s constitutional right to be free

from unreasonable searches.      He claims the second exchange

“clearly shows a constitutional violation ... with Trowbridge

directly involved in supervising Graves.”          He suggests that this

exchange evidences a preconceived plan between Trowbridge and

Graves to arrest plaintiff on unfounded criminal charges, in that

Trowbridge, after hearing of Graves’ preconceived charge of

disorderly conduct, gave his “stamp of approval.”4


     4
          Although plaintiff has sought to impose liability
against Sheriff Trowbridge for the second alleged illegal entry
onto his property, the alleged illegal search during that second
entry, and his second arrest by Deputy Graves, there is no
evidence at all to show that Sheriff Trowbridge had any personal
participation in the events of April 15, or even any knowledge of
these events, until after the fact.

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     In the court’s opinion, the radio communications cited by

plaintiff cannot reasonably be interpreted as evidence that

Sheriff Trowbridge ordered Deputy Graves to violate any of

plaintiff’s constitutional rights.         There was no clearly

established law making it unconstitutional for law enforcement

officers to enter onto an individual’s property to speak with him

in the same manner as any other private citizen, and in the

court’s opinion, the sheriff’s suggestion that his deputy speak

with plaintiff concerning the Millers’ complaint was objectively

reasonable, as a matter of law.

     The court further rejects as unfounded plaintiff’s charge

that Sheriff Trowbridge approved in advance Deputy Graves’ alleged

plan to arrest plaintiff on contrived charges.              In the court’s

opinion, without more, Sheriff Trowbridge’s comment to Graves to

“get somebody else over there with you,” after Graves’ stated,

“[s]ounds like disturbing the peace, I mean disorderly conduct,”

cannot reasonably be construed as either a suggestion or directive

to arrest Gilmer, or prior approval of an unlawful arrest.

Sheriff Trowbridge did nothing more than direct Deputy Graves to

get another officer on the scene with him.          He did not instruct

Graves to arrest plaintiff, and certainly did not instruct him to,

or suggest that he arrest Gilmer on unfounded charges.

     Plaintiff contends alternatively that even if Sheriff

Trowbridge cannot be held individually liable on the basis of his

personal participation in Graves’ entry onto his property and the



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ensuing unlawful arrest, he is nevertheless subject to individual

liability on the basis of his failure to adequately train and/or

supervise his officers, including Deputy Graves.            In the absence

of personal participation in the constitutional violation, to

establish § 1983 liability against a supervisor, such as Sheriff

Trowbridge, “the plaintiff must show that: (1) the [sheriff]

failed to supervise or train the officer; (2) a causal connection

existed between the failure to supervise or train and the

violation of the plaintiff's rights; and (3) the failure to

supervise or train amounted to deliberate indifference to the

plaintiff's constitutional rights.”        Roberts v. City of

Shreveport, 397 F.3d 287, 291-292 (5th Cir. 2005) (citations

omitted).   See also City of Canton v. Harris, 489 U.S. 378, 109 S.

Ct. 1197, 1204, 103 L. Ed. 2d 412 (1989) (“The inadequacy of

police training may serve as the basis for § 1983 liability only

where the failure to train amounts to deliberate indifference to

the rights of persons with whom the police come into contact.”);

Southard v. Texas Bd. of Criminal Justice, 114 F.3d 539, 550 (5th

Cir. 1997)(“[T]he misconduct of the subordinate must be

affirmatively linked to the action or inaction of the

supervisor.”).5


     5
      Of course, it must first be determined whether a
subordinate’s actions violated the plaintiff’s constitutional
right, for a supervisor has no potential liability if his alleged
failure to train or supervise did not cause a constitutional
violation. The court here has concluded there was no violation of
plaintiff’s right to be free from excessive force. The only
potential constitutional violations are an illegal entry onto

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        To establish the first prong of this test, a plaintiff

usually must show that the supervisory official knew or should

have known of a “history of widespread abuse” and the consequent

need for training or supervision.          See Bowen v. Watkins, 669 F.2d

979, 988 (5th Cir. 1982) (explaining that “[u]sually, a failure to

supervise gives rise to section 1983 liability only in those

situations in which there is a history of widespread abuse.                  Then

knowledge may be imputed to the supervisory official, and he can

be found to have caused the later violation by his failure to

prevent it.”).    To demonstrate a causal connection between a

failure to train or supervise and the alleged constitutional

violation, the plaintiff must prove that the supervisor knew that

the alleged abuses were so prevalent that he had a duty to prevent

them.    See Lozano v. Smith, 718 F.2d 756, 768 (5th Cir. 1983).

        To satisfy the deliberate indifference prong, a plaintiff

must show that the supervisory official was “both aware of facts

from which the inference could be drawn that a substantial risk of

serious harm [i.e., an actionable constitutional violation]

exists, and he must also draw the inference.”            Smith v.

Brenoettsy, 58 F.3d 908, 912 (5th Cir. 1998) (citing Farmer v.

Brennan, 511 U.S. 825, 837, 114 S. Ct. 1970, 1979, 128 L. Ed. 2d

811 (1994).     “[P]roof of deliberate indifference, generally

requires a showing ‘of more than a single instance of the lack of



plaintiff’s property (which is likely no violation at all, though
this is not an issue that need be definitively resolved for the
present motion) and the alleged unlawful arrests.

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training or supervision causing a violation of constitutional

rights.’”   Burge v. St. Tammany Parish, 336 F.3d 363, 370 (5th Cir.

2003) (quoting Thompson v. Upshur County, TX, 245 F.3d 447, 459

(5th Cir. 2001)).    “Rather, deliberate indifference generally

requires that a plaintiff demonstrate ‘at least a pattern of

similar violations’ arising from training (or supervision) that is

so clearly inadequate as to be ‘obviously likely to result in a

constitutional violation.’”      Id. (quoting Thompson).

     In support of his charge that Sheriff Trowbridge failed to

train his officers regarding the alleged requirement for a warrant

in order to enter onto private property, plaintiff points to

testimony by Deputy Graves that “[w]e talk to complainants all the

time about loud music, so I went to speak with him (Gilmer).”

Plaintiff asserts that “Deputy Graves admits that it is his and

the Madison County Sheriff’s Department’s custom and policy to

interrogate persons legally playing loud music if the deputy

chooses.”   That Sheriff Trowbridge allowed his deputies to speak

with persons against whom noise/disturbing the peace complaints

have been made does not evidence deliberate indifference to

anyone’s constitutional rights.

     Moreover, as for Graves’ alleged unlawful arrest of

plaintiff, plaintiff has not alleged or presented any evidence

showing that Deputy Graves, or any other deputies, had a “history

of widespread abuse,” or, even if Deputy Graves did have such a

history, that Sheriff Trowbridge knew or had reason to know of it.



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In response to Sheriff Trowbridge’s motion, plaintiff has argued

that this court should view plaintiff’s April 14 and April

15 arrests as two separate occasions of abuse by Deputy Graves;

but even were the court to do this, that still would not

demonstrate that widespread abuse existed within the Madison

County Sheriff’s Department.      See Hinshaw, 785 F.2d at 1264 (where

an officer had been investigated on three separate occasions

concerning his use of force, that did not qualify as “widespread

abuse” sufficient to put the supervisor on notice that the

officer “had a tendency to use excessive force”).            Moreover, as

defendant correctly notes, plaintiff has in any event produced no

evidence that Sheriff Trowbridge even knew about plaintiff’s

second arrest or the circumstances surrounding that arrest.

     Plaintiff has also offered purported evidence of inmate abuse

at the Madison County Detention Center, along with an affidavit

from a William Barnett who claims that in April 2007, Deputy

Graves arrested him without probable cause for an offense Barnett

claims he did not commit.      Evidence of alleged inmate abuse at the

county jail does not tend to establish “a pattern of similar

violations” to plaintiff’s alleged unlawful arrests, nor is an

alleged unlawful arrest by Deputy Graves a year after the events

at issue here relevant to whether Sheriff Trowbridge was on notice

that a failure to train or supervise Deputy Graves might result in

violation of plaintiff’s constitutional rights.




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     For these reasons, the court concludes that Sheriff

Trowbridge, in his individual capacity, is entitled to summary

judgment on plaintiff’s § 1983 claims.

     Plaintiff’s Conspiracy Claim

     In his complaint, plaintiff has alleged that Sheriff

Trowbridge conspired with Pam and Tommy Millers’ “false

allegations to Deputy Graves with the specific intent of causing

the wrongful arrest of Plaintiff” and conspired with Deputy Graves

“to falsely charge [plaintiff] with disorderly conduct.”

Plaintiff purports to assert this conspiracy claim under § 1983.

     “To establish a cause of action based on conspiracy a
     plaintiff must show that the defendants agreed to commit
     an illegal act.” General conclusory charges of
     conspiracy with “no specific allegation of facts tending
     to show a prior agreement” cannot survive a motion to
     dismiss. The complaint must include specific factual
     allegations showing a prior agreement, plan or meeting
     of the minds between the defendants and a state actor.

Hey v. Irving, No. 97-60816, 1998 WL 723819, 2 (5th Cir. Oct. 2,

1998) (citations omitted).      See also Bacque v. Scott, Civil Action

No. 04-1427, 2007 WL 3169089, 2 (W.D. La. Oct. 22, 2007) (“The

elements of civil conspiracy are (1) an actual violation of a

right protected under § 1983 and (2) actions taken in concert by

the defendants with the specific intent to violate the

aforementioned right.”).

     In the case at bar, it is manifest that plaintiff has failed

to adduce evidence that could reasonably support a finding of an

alleged conspiracy.     Plaintiff’s conspiracy claim against

defendants is based on his allegations that Sheriff Trowbridge

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knew the Miller family and knew, from conversation with Mrs.

Miller, that she and her husband had been having problems with

Barry Gilmer and were involved in litigation of some sort with

Barry Gilmer.    Trowbridge, he claims, had already actively and

knowingly offered the Madison County Sheriff’s Department’s

assistance to the Millers in handling their problems, or

“troubles” with Gilmer, having told Mrs. Miller that she should

call the Sheriff’s Department if she continued to have trouble

with Mr. Gilmer, because “that’s what the Sheriff’s Department is

there for.”

     Indeed, it is undisputed that Trowbridge knew the Millers,

having attended the same church as they attended some eight or ten

years prior to the incidents at issue.         His wife also taught piano

lessons to the Millers’ daughter, and in fact, it was during one

of these piano lessons that Mrs. Miller saw the sheriff and

lamented the troubles she was having with her neighbor.              Clearly,

however, proof that the sheriff merely told Mrs. Miller that she

should call the Sheriff’s Department if she had further problems

with her neighbor, Mr. Gilmer, does not tend to establish the

existence of an agreement, plan or meeting of the minds to violate

Mr. Gilmer’s constitutional rights in any manner.            Neither does

the fact that Mrs. Miller ultimately did call the Sheriff’s

Department (by her account, many months after her conversation

with the sheriff) to complain about activities occurring on

plaintiff’s property and that a deputy was sent out in response to



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her call and that this deputy ultimately arrested Mr. Gilmer,

allegedly without probable cause, tend to establish the existence

of an alleged conspiracy.6      Plaintiff insists that the fact that

Sheriff Trowbridge told Deputy Graves “to see what he could do to

help (Mrs. Miller) out,” particularly when coupled with his prior

pledge of assistance from his office, tends to confirm the

existence of the alleged conspiracy.        In the court’s opinion,

however, this statement to Graves adds nothing of relevance, and

does not tend to show there was ever any agreement of any sort to

infringe plaintiff’s constitutional rights.          Plaintiff’s

conspiracy claim will be dismissed.

     Plaintiff’s State Law Claims

     The Mississippi Tort Claims Act (MCTA), Mississippi Code

Annotated § 11-46-1, et seq., provides the exclusive remedy to

plaintiff for his claims against defendants.           See Miss. Code Ann.

§ 11-46-7.    Both defendants submit that plaintiff’s state law

claims against them in their individual capacities are barred by

the MTCA.    The Mississippi Tort Claims Act provides for a limited

waiver of the sovereign immunity of the state and its political

subdivisions for tort claims against a municipality and



     6
          Plaintiff maintains that Pam Miller was also the
individual who called to complain about noise at the Gilmer
property in the early morning hours of April 15. The court
acknowledges Gilmer’s position, but finds it is not supported by
the record evidence, and is irrelevant in any event. There is
nothing to suggest that Sheriff Trowbridge knew there had even
been a further complaint about the Gilmers, and there is nothing
to show that Deputy Graves knew the identity of the complainant.

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its employees for actions taken within the course and scope of

their employment.     The Act provides:

     [T]he immunity of the state and its political
     subdivisions from claims for money damages arising out
     of the torts of such governmental entities and the torts
     of their employees while acting within the course and
     scope of their employment is hereby waived....

Miss. Code Ann. § 11-46-5(1).       The Act further provides that

recovery under the Act is the exclusive remedy for injuries for

which the Act has provided a waiver of sovereign immunity, stating

that “any claim made or suit filed against a governmental entity

or its employee to recover damages for any injury for which

immunity has been waived under this chapter shall be brought only

under the provisions of this chapter....”          Miss. Code Ann.

§ 11-46-7(1).    The Act carves out certain exceptions to the waiver

of immunity.    For example, no recovery may be had against a

municipality or its employees for acts which are discretionary

functions taken by employees in the scope of their employment.

See Miss. Code Ann. § 11-46-9(1) (“A governmental entity and its

employees acting within the course and scope of their employment

or duties shall not be liable for any claim ... [b]ased upon the

exercise or performance or the failure to exercise or perform a

discretionary function or duty on the part of a governmental

entity or employees thereof, whether or not the discretion be

abused.”).     Also, immunity from liability remains in place for

official acts of a municipality or its employees performing

“duties or activities relating to police ... protection unless the



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employee acted in reckless disregard of the safety and well-being

of any person not engaged in criminal activity at the time of

injury.”   Miss. Code Ann. § 11-46-9(c).        “‘[R]eckless disregard’

embraces willful or wanton conduct which requires knowingly and

intentionally doing a thing or wrongful act.”           Turner v. City of

Ruleville, 735 So. 2d 226, 230 (Miss. 1999).           Finally, the Act

provides that actions that constitute such things as malice and

defamation occur outside the course and scope of employment, and

the municipality has not waived immunity from suit with respect to

such acts and cannot be held liable for them.           See Miss. Code Ann.

§§ 11-46-5(2), 11-46-7(2).      See   Wilkinson v. Mayor and Aldermen

of City of Vicksburg, Civil Action No. 5:05-cv-94(DCB)(JMR), 2008

WL 130630, 1 (S.D. Miss. Jan. 10, 2008) (summarizing pertinent

provisions of MTCA).

     Here, Sheriff Trowbridge argues that he was at all times

acting within the course and scope of his employment, and that his

acts fall within either or both of the discretionary function and

police protection provisions.       The court agrees, and concludes he

is entitled to summary judgment in his individual capacity as to

plaintiff’s state law claims.       See Wilkinson, 2008 WL 130630, at 2

(“Inasmuch as ... Captain Culbertson's involvement was in a

supervisory and directorial role, he is entitled to discretionary

function immunity pursuant to § 11-46-9(1)(d), and is entitled to

summary judgment.”).




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     However, while Deputy Graves argues that he retains immunity

since he did not act with malice, or in reckless disregard of

plaintiff’s rights, the court concludes that there are genuine

issues of material fact which preclude his request for summary

judgment.     See Duke v. Cartlidge, Civil Action No.

5:04CV322DCBJMR, 2006 WL 2788541, 6 (S.D. Miss. Sept. 26, 2006)

(holding that “[t]o establish a claim of false arrest or false

imprisonment, a plaintiff must prove that the defendant caused him

‘to be arrested falsely, unlawfully, maliciously, and without

probable cause’”) (citations omitted); Wilkinson, 2008 WL 130630,

at 2 (allegations that arresting officer deliberately failed to

inform judge of facts relevant to probable cause determination

could constitute reckless disregard); Foster v. Noel, 715 So. 2d

174, 178-80 (Miss. 1998)(upholding verdict against police officer

for his acts in procuring invalid arrest warrant insofar as his

conduct constituted reckless disregard for the rights of the

plaintiff).

     Conclusion

     Based on the foregoing, it is ordered that plaintiff’s motion

to dismiss defendant Western Surety Company is denied; defendant

Scott Graves’ motion for summary judgment on plaintiff’s

individual capacity claims against him is granted in part and

denied in part, as set forth herein; defendant Toby Trowbridge’s




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motion to dismiss or, in the alternative, for summary judgment in

his individual capacity, is granted.

     SO ORDERED this 10th day of March, 2009.



                                   /s/ Tom S. Lee
                                  UNITED STATES DISTRICT JUDGE




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